                                                            Jeffrey A. Mandell

                                                            222 West Washington Avenue, Suite 900
                                                            P.O. Box 1784
                                                            Madison, WI 53701-1784
                                                            JMandell@staffordlaw.com
                                                            608.210.6303




December 3, 2020

The Honorable Brett Ludwig
U.S. District Court for the Eastern District of Wisconsin
Via CM/ECF

Re:    Trump v. Wisconsin Elections Commission, et al.
       Case No. 2:2020-CV-1785

Dear Judge Ludwig:

On behalf of Defendant Governor Tony Evers, I write to alert the Court of two recent filings in the matter
captioned Feehan v. Wisconsin Elections Commission, Case No. 2:20-CV-1771, also pending before this
Court. Specifically, Governor Evers recently filed both (i) a Civil Local Rule 3(b) Notice of Related Case
and Request for Assignment in Concert with that Related Case; as well as (ii) a Motion to Reassign Case
Pursuant to Civil Local Rule 3(b). For the Court’s reference, both papers are attached to this letter.

As explained in those two recent filings, Governor Evers believes that the above-captioned action and the
Feehan action are related under Civil Local Rule 3(b) and should be treated as such. The Governor’s
understanding is that when there is a question as to whether two cases are related Civil Local Rule 3(b)
provides that it will be resolved by the judge to whom the action with the lower-case number is assigned
(in this case, the Feehan action), and therefore filed their papers in the Feehan matter. Governor Evers,
however, wanted to promptly notify this Court of those filings.

Respectfully submitted,

STAFFORD ROSENBAUM LLP



Jeffrey A. Mandell

Enclosure
cc:    Counsel of record (via CM/ECF)
